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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

DOCKSIDE THREADING, INC.                       §
    Plaintiff,                                 §
                                               §
v.                                             §
                                               §        CIVIL ACTION NO. 5:18-cv-00995-XR
LIBERTY MUTUAL INSURANCE                       §
COMPANY                                        §
                                               §
       Defendant.                              §

                                    JOINT ADR REPORT


       Plaintiff Dockside Threading, Inc. and Defendant Liberty Mutual Insurance Company

(collectively referred to as “the Parties”) file this Joint ADR Report pursuant to the Court’s

Scheduling Order dated October 26, 2018.

                                                   I.

1.     On October 26, 2018, the Court entered an order requiring the Parties to file “[a] report

on alternative dispute resolution in compliance with Local Rule CV-88” by January 25, 2019.

2.     Local Rule CV-88, entitled “Alternative Dispute Resolution,” states, in relevant part:

              (b)     ADR Report. Upon order of the court, the parties
                      shall submit a report addressing the status of
                      settlement negotiations, disclosing the identity of
                      the person responsible for settlement negotiations
                      for each party, and evaluating whether alternative
                      dispute resolution is appropriate in the case. In the
                      event the parties conclude that ADR is appropriate
                      and agree upon a method of ADR and an ADR
                      provider, they should identify both the method of
                      ADR and the provider they have selected, the
                      method by which the provider was selected, and
                      how the provider will be compensated.


3.     This Joint ADR Report was filed on or before January 25, 2019.
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                                                II.

4.      Pursuant to the Court’s Scheduling Order dated October 26, 2018, and Local Rule CV-

88, the Parties jointly state as follows:

        a.      Status of Settlement Negotiations: Settlement negotiations are ongoing and the

Parties are diligently working toward early resolution of this case if possible. The parties agree

that mediation is the preferred method of alternative dispute resolution in this case. The parties

agree to mediate this case by March 26, 2019.

        b.      Person(s) Responsible for Settlement Negotiations:

                Matthew R. Pearson
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                Jonathan C. Lisenby
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                Counsel for Plaintiff

                Attorney-In-Charge for Plaintiff Dockside Threading, Inc.

                And

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                Counsel for Defendant

                Attorney-In-Charge for Defendant Liberty Mutual Insurance Company

        c.      ADR is Appropriate: The Parties have agreed that mediation of this case at this

                time is appropriate. The parties will diligently work to choose a mediator and

                conduct mediation within approximately sixty (60) days. The Parties further

                agree to bear their own costs for same.

5.      This Joint ADR Report is timely filed.

                                            PRAYER

        Plaintiff Dockside Threading, Inc. and Defendant, Liberty Mutual Insurance Company

pray the Court approves this Joint ADR Report and for all other and further relief to which they

are entitled.


                                              Respectfully submitted,

                                              GRAVELY & PEARSON, L.L.P.



                                              _________________________
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                                              ATTORNEYS FOR PLAINTIFF

                                              AND




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                                     Lindow ▪ Stephens ▪ Treat LLP


                               By:   __/s/ David R. Stephens_______________________________
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